           Case 2:99-cr-00433-WBS Document 1203 Filed 06/30/08 Page 1 of 2


 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   ANN C. McCLINTOCK, Bar #141313
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     THONGSOUK LATTANAPHOM
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr-S-99-0433 WBS
                                     )
12                  Plaintiff,       )
                                     )      REQUEST AND [PROPOSED] ORDER
13        v.                         )      REQUESTING RELEASING OF DISTRICT
                                     )      COURT FILE TO FEDERAL DEFENDER
14   THONGSOUK LATTANAPHOM,          )      FOR COPYING
                                     )
15                  Defendant.       )      Judge:      Hon. William B. Shubb
                                     )
16   _______________________________ )
17
18         Defendant THONGSOUK LATTANAPHOM, by and through his counsel,
19   hereby requests the court to direct the Clerk of the Eastern District
20   of California to release the district court’s file to the Federal
21   Defender’s Office for the purpose of copying the file in this matter.
22   This copying is needed to begin preparations for the anticipated appeal
23   that will be filed following the defendant’s sentencing.
24   ///
25   ///
26   ///
27   ///
28   ///
           Case 2:99-cr-00433-WBS Document 1203 Filed 06/30/08 Page 2 of 2


 1         The Federal Defender’s Office will be responsible for returning
 2   the District Court file back to the clerk’s office within seven (7)
 3   days from the date of the signing of this order.
 4   Dated:   June 26, 2008
 5                                           Respectfully submitted,
 6                                           DANIEL J. BRODERICK
                                             Federal Defender
 7
                                             /s/ Ann C. McClintock
 8                                           ANN C. McCLINTOCK
                                             Assistant Federal Defender
 9                                           Attorney for Defendant
                                             THONGSOUK LATTANAPHOM
10
11                                         ORDER
12         The court has considered this request, which it understands is
13   opposed by the United States Attorney.        Notice of appeal has not yet
14   been filed, and the file in this case should accordingly remain within
15   the custody and control of the Clerk of this Court.          IT IS THEREFORE
16   ORDERED that defendant Lattanaphom’s request for an order directing the
17   Clerk to release the district court’s file to the Federal Defender’s
18   Office for copying be, and the same hereby is, DENIED.
19   DATED:   June 27, 2008
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     U.S. v.Lattanaphom, Cr-S-99-0433
     Request and Proposed order             -2-
